                              UNITED STATES DISTRICT COURT
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                                                                                       filED
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION                                FEB 2·1 Z017
                                                                                   U~ S. DISTRICT COURT
                                                                                 EASTERN DISTRICT OF MO
                                                                                        ST.LOUIS
IN THE MATTER OF AN APPLICATION OF THE                   )
UNITED STATES OF AMERICA FOR A                           .)
WARRANT          AUTHORIZING        THE                   )
INSTALLATION,       ACTIVATION     AND                    )
MONITORING OF A GLOBAL POSITIONING                        )     No. 4:17 MJ 3029 NCC
SYSTEM ELECTRONIC TRACKING DEVICE                         )
(GPS DEVICE) TO BE LOCATED IN OR ON THE                   )     FILED UNDER SEAL
BLACK 2006 DODGE MAGNUM, WITH                             )
VIN #2D8GV77306H257089,        BEARING                    )
MISSOURI ~LICENSE PLATE NUMBER FN1-                       )
Z1L.                                                      )

                                          APPLICATION

       COMES NOW the United States of America, by and through its attorneys, Richard G.

Callahan, United States Attorney for the Eastern District of Missouri, and Sara E. Koppenaal,

Special Assistant United States Attorney for said District, and hereby makes application to this

Court for a Warrant authorizing the installation, activation and monitoring of an electronic tracking

device in or on the Black 2006 Dodge Magnum, with Vehicle Identification Number
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(VIN) #2D8GV77306H257089, bearing Missouri license plate number FNl-ZlL (hereinafter

the "subject vehicle"), which is being utilized by Kelvin FORD, pursuant to Rule 41, Fed. R.

Crim. P. and 18 U.S.C. § 3117.

        1.     This application seeks authorization to monitor an electronic tracking device known

as a Global Positioning System (GPS device).           The GPS device would be concealed on the

"subject vehicle" to be used by Kelvin FORD.       The GPS device would enable the agents/officers

of the Drug Enforcement Administration (hereinafter referred to as "investigative agency(ies)") to

surveil said "subject vehicle."    This GPS device emits an electronic signal that can be located by

a locating receiver to be possessed by the officers.   The GPS device and locating receiver monitor

movement and physical location of the GPS device, but in no way transmits or records voice

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communication or acquires oral communication.         The above-mentioned "subject vehicle" which

is being utilized in connection with the commission of offenses involving on-going violations of

Title 21, United States Code, Sections 846 and 841(a)(l).

       2.      Attached to this application and incorporated by reference as is fully set out herein

is the affidavit of Task Force Officer Christopher Moss with the Drug Enforcement Administration

which alleges facts in order to show that:

               There is probable caus~ to believe that evidence of the commission
               of the above-described offenses can be obtained through the use of
               a GPS device in or on the "subject vehicle," thereby enabling
               agents/officers ofthe investigative agency(ies) to track and surveil
               the movements of the "subject vehicle" for a period of forty-five
               (45) days;

       3.      In the event that the Court grants this application, agents/officers of the

investigative agency(ies) or their authorized representatives seek authority to surreptitiously enter

the "subject vehicle," including entry onto private property, to effect installation, any time during

the day or night.

       4.      In the event that the Court grants this application, there will be periodic monitoring

of the GPS device during both daytime and nighttime hours for .the next forty-five (45) days

following the installation of said GPS device.    In addition, the GPS device may produce signals

from inside private garages or other such locations not open to public or visual surveillance ..

       5.      In the event that the Court grants this application, it is requested that in addit,on to
                                                                                                 i
the installation of said device that the agents/officers of the investigative agency(ies) or their

authorized representatives have the authority to maintain, service, repair, and remove the GPS

device, any time during the day or night.

        6.     In the event that the Court grants this application, within ten (1 0) calendar days

after the use of the tracking device has ended, the Government will provide notice to the person

whose property was tracked unless delayed notice is authorized by the Court.

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       7.      In light of the ongoing nature of the investigation as reflected in the attached

affidavit, applicant requests that the application, affidavit and Warrant be sealed.

       WHEREFORE,          on the basis of the allegations contained in this application, and on the
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basis of the affidavit of Task Force Officer Christopher Moss with the Drug Enforcement          I

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Administration, which is attached hereto and made a part hereof, applicant requests this Court to

enter a Warrant authorizing law enforcement officials, agents/officers with the investigative

agency(ies), or their authorized representatives, including but not limited to, other law enforcement
                                                                              /
agents and technicians assisting in the above-described investigation, to install, maintain, service,

repair and ultimately remove a GPS device in or on the "subject vehicle"; to surreptitiously enter

the "subject vehicle," including entry onto private property, to effect said installation, maintenance,

and removal, any time during the day or night; and to monitor the signals from that GPS device

following the issuance of the Court's Warrant, including signals produced from inside private

garages and other locations not open to the public or visual surveillance, and signals produced in

the event that the "subject vehicle" leaves the Eastern District of Missouri but remains within the

United States, and so as not to jeopardize the ongoing investigation, that the application, affidavit

and Warrant be sealed ..

                                                       Respectfully submitted,

                                                       RICHARD G. CALLAHAN
                                                       United States Attorney                    i


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Dated this     21st     day of February, 2017.




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